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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 MARCIA MELENDEZ, et al.,
                                  Plaintiffs,                       No. 20-CV-5301 (RA)

                             v.                                            ORDER
 THE CITY OF NEW YORK, et al.,
                                  Defendants.


RONNIE ABRAMS, United States District Judge:

       Pending before the Court are Plaintiff’s motion for summary judgment, see Dkt. 91, and

Defendants’ cross motion for summary judgment, see Dkt. 101. Oral argument will be held on

December 12, 2022 at 11:00 a.m. By no later than December 5, 2022, the parties shall file a joint

letter advising the Court as to whether they prefer to hold the argument in person or remotely via

videoconference.



SO ORDERED.

 Dated:         November 2, 2022
                New York, New York

                                                    ________________________________
                                                    Hon. Ronnie Abrams
                                                    United States District Judge
